        1:17-cv-01316-SEM-TSH # 55                               Page 1 of 2                                                               E-FILED
                                                                                            Thursday, 31 October, 2019 10:49:11 AM
                                                                                                       Clerk, U.S. District Court, ILCD

                                        UNITED STATES DISTRICT                         COURT
                               FOR THE CENTRAL                    DISTRICT           OF ILLINOIS


Micah J. Hopkins, # R- 34998,


        Plaintiff,


        v.                                                                No.         17 - 1316 - SEM - TSH


Guy Pierce, et al.,

        Defendants.


                                               STIPULATION            OF DISMISSAL


        Plaintiff, Micah J. Hopkins, pro se, and Defendants, Teresa Arroyo, Jamie Horton, Sharon

Kimes, Michael Melvin, Randall Meister, Tracey Nodine, Guy Pierce, Susan Prentice, Todd

Punke, Zach Smith, and Trevor Wilson, by and through their attorney, Kwame Raoul, Attorney
General for     the   State   of   Illinois,   pursuant    to Federal Rule           Civil Procedure 41(         1)(   A)( ii),
                                                                                of                         a)(
                                                                                                                                  hereby

stipulate to the dismissal of Plaintiff' s claims against Defendants with prejudice. Plaintiff and

Defendants agree as follows:


        1.            On   July    6, 2017, Plaintiff filed       a   complaint against     Defendants. ( Doc. 1.)


        2.
                      Federal Rule of Civil Procedure 41( a)( 1)( A)( ii) permits the parties to voluntarily
dismiss an actio‘n. by signed stipulation.

        3.            The claims against Defendants shall be dismissed with prejudice and without leave

to reinstate.


        4.
                      Plaintiff and Defendants shall bear their own attorney' s fees, costs, and expenses.

   s/ Micah Hopkins                                       1799
                                                                           s/ Jeremy C. Tyrrell
 Micah J. Hopkins, pro .s.                                             Jeremy C. Tyrrell, # 6321649
                                                                       Assistant Attorney General
                                                                       Attorney,for Defendants'
 Dated:/
                       V---/
                          9
                                                                                 10/31/2019
                                                                       Dated:
       1:17-cv-01316-SEM-TSH # 55             Page 2 of 2



                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

Micah J. Hopkins, #R-34998,                   )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      No.     17-1316-SEM-TSH
                                              )
Guy Pierce, et al.,                           )
                                              )
       Defendants.                            )

                                CERTIFICATE OF SERVICE

        I hereby certify that on October 31, 2019, the foregoing document, Stipulation of Dismissal,
was electronically filed with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

                          Brent J. Colbert        bcolbert@cassiday.com

and I hereby certify that on the same date, I caused a copy of the same to be mailed by United and
I hereby certify that on the same date, I caused a copy of the same to be mailed by United States
Postal Service, in an envelope, properly addressed and fully prepaid, to the following non-
registered participant:

                                    Micah Hopkins #R-34998
                                  Stateville Correctional Center
                                           P.O. Box 112
                                         Joliet, IL 60434

                                                     Respectfully submitted,

                                                     s/Jeremy C. Tyrrell_
                                                     Jeremy C. Tyrrell #6321649
                                                     Assistant Attorney General
